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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

KATHRYN FRANKOLA                                                   CIVIL ACTION

VERSUS                                                             NO. 15-5933

BOARD OF SUPERVISORS FOR LOUISIANA                                 SECTION"H"(5)
STATE UNIVERSITY AND AGRICULTURAL
AND MECHANICAL COLLEGE et al



                     PRELIMINARY CONFERENCE NOTICE

       A PRELIMINARY CONFERENCE will be held BY TELEPHONE on
February 10, 2016 at 2:00 p.m. for the purpose of scheduling a pre-trial conference and
trial on the merits and for a discussion of the status and discovery cut-off dates.

       The Court will initiate the telephone conference call and will be represented at
the conference by its Case Manager. TRIAL COUNSEL are to participate in this
conference. If, however, you are unable for good cause to do so, another attorney in your
firm may participate if acquainted with all details of the case and authorized to enter
into any necessary agreements. If, for good cause, neither is possible, you must contact
the Case Manger at least one week prior to the above date to reschedule the conference.
If an attorney other than Lead Counsel is to participate, Counsel are to contact
the Case Manger prior to the conference in order to provide the appropriate
contact information.

                                         JANE TRICHE MILAZZO
                                         UNITED STATES DISTRICT JUDGE

                                         Issued for the Court:

                                         By: Erin Mouledous
                                             Case Manager
                                             (504) 589-7695

NOTICE OF COMPLIANCE WITH Fed. R. Civ. P. 26(a)(1) & 26(f) and Local Rule 26

COUNSEL ARE TO BE PREPARED TO ANSWER ATTACHED QUESTIONS CONCERNING
DISCLOSURE.

                                        NOTICE

COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS NOTICE
SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS REQUIRED BY THIS NOTICE.
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02/2011
                   IMPORTANT NOTICE TO COUNSEL

COUNSEL WILL BE REQUIRED TO ANSWER THE FOLLOWING
QUESTIONS REGARDING DISCLOSURE AT THE CONFERENCE:

1.        Have all parties completed your Rule 26(a)(1) mandatory initial
          disclosures?

2.        Have all parties stipulated that initial disclosures under Rule
          26(a)(1) will not be made in this case?

3.        Do any of the parties object to making Rule 26(a)(1) initial
          disclosures in this case? *

*WRITTEN OBJECTIONS MUST BE FILED THREE WORKING
DAYS PRIOR TO THE PRELIMINARY CONFERENCE.
